 

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

United States of America
ex rel. Rayme M. Edler, M.D.

Plaintiffs,
V. Case 3:20-cv-05503-RV-HTC
Escambia County FILED UNDER SEAL

31 U.S.C. §3730(B)(2) AND
Defendant. LOCAL RULE 5.5 (B)

 

SECOND AMENDED COMPLAINT

1. Plaintiff-Relator Dr. Edler brings this False Claims Act Complaint on
behalf of the United States, and on her own behalf. 31 U.S.C. §§ 3730 et seq.

2. Medicare and other government programs pay for certain necessary
and reasonable medical services, but services are not reasonable when they are
performed by uncertified and unqualified personnel. Escambia County knowingly
filed claims for medical services performed by uncertified and unqualified
personnel.

3. Further, Escambia knowingly filed claims for emergency transportation
when it provided non-emergency transportation, and it filed claims for advanced life

support when if provided basic life. These up-codes are false claims.
I. Jurisdiction, Venue, and Parties

4. This Court has subject matter jurisdiction pursuant to 31 U.S.C. §
3732(a) and (b) and supplemental jurisdiction pursuant to 28 U.S.C. § 1359. The
Court has personal jurisdiction over Escambia because it transacts business and can
be found in this district and committed acts in this district that violate 31 U.S.C. §
3729.

5. To the extent that there has been a public disclosure of “allegations or
transactions” in this Complaint, the Relator is the original source under 31 U.S.C.
§3730(e)(4). Relator has direct, independent, and material knowledge of the
information that forms the basis of this Complaint and voluntarily disclosed that
information to the Government before filing.

6. Venue is proper in this district under 31 U.S.C. § 3732(a) because at all
times relevant to this Complaint, Defendant regularly conducted substantial
business within this district.

7. Defendant’s conduct had a material effect on government-funded
health plans’ decisions to pay for services performed by Defendant. Had the United
States known that Defendant misrepresented the schemes described herein,
government-funded health plans would not have paid or made reimbursements.

8. Qui Tam Plaintiff/Relator Rayme Edler, MD, MSPH, Florida

license ME109913, was employed as the Escambia County Medical Director and
Director of Emergency Medical Services from May 2018 until she was unlawfully
terminated on September 27, 2021.

9. Dr. Edler’s responsibilities included providing medical direction and
oversight for Escambia County’s Public Safety and Correctional Center. This
includes

Escambia County Emergency Medical Services,

Escambia County Fire Rescue,

Escambia County Dispatch,

Pensacola City Fire,

Pensacola Beach Lifeguards,

Medical staff at the Escambia County Correctional Center and Road Prison,

National Park Rangers who are EMTs and Paramedics in Fort Pickens, Fort

McRee, Johnson Beach, and Opal Beach (medical oversight only).'

10. Dr. Edler’s experience made her exceptionally well-suited for this
position. During college she worked as a New Orleans-based EMT/Paramedic,
including work as a paramedic supervisor on for Lifeguard Ambulance Service.
Then, while studying for her Masters in Public Health, she worked at Charity
Hospital, New Orleans. After earning her M.D. in 2007, she served emergency
department patients.

11. In addition, from July 2011 until the present, Dr. Edler works as an

emergency medicine board-certified physician for ApolloMD at Baptist Hospital,

Pensacola, FL and Gulf Breeze Hospital, Gulf Breeze, FL.

 

' Defendant has a service agreement with the National Park Services.

3
12.  Relator’s licenses and certifications:

Florida Medical License, ME109913. Active: 01/31/2023.

Advanced Trauma Life Support, active since 2004.

Advanced Cardiac Life Support instructor-EP (Experienced Provider).
Pediatric Advanced Life Support.

Basic Life Support Provider.

American Board of Emergency Medicine. Expiration: 12/2021.

Basic SWAT Medic Course Completion.

13. With respect to allegations made upon information and belief, Relator
has, based upon Relator’s knowledge, data, and prior experience, a reasoned factual
basis to make the allegations herein but lacks complete details of them. While
Relator has significant evidence of the fraud alleged herein (the details of which
follow), much of the documentary evidence necessary to prove these allegations is
in the possession of Defendant and the United States.

14. Defendant Escambia County, NPI 1518960426, provides healthcare
services, including emergency medical services and transportation.

15. The state of Florida Dept. of Health license verification shows the
Escambia County Public Safety Department EMS is an EMS service provider with

an advanced life support license ALS 1703, issued in 1992.
16. Escambia County has a population of approximately 300,000, and

2022 budget of $ 568,262,165.”

II. The Law
A. Medicare and government programs.

17. The false claims complained of herein arise from services provided
under the United States governments’ Medicare, Medicaid, ChampVA (f/k/a
Champus), Tricare, and other federal employee and veteran healthcare programs.

18. In 1965, Congress enacted Title XVIII of the Social Security Act, 42
U.S.C. § 1395 et seq., known as the Medicare program. The Center for Medicare
and Medicaid Services (“CMS”), which is part of the Department of Health and
Human Services, administers Medicare.

19. To participate in the Medicare program, healthcare providers enter into
contracts with HHS-CMS in which the provider agrees to conform to all applicable
statutory and regulatory requirements for reimbursement from Medicare, including
the provisions of Section 1862 of the Social Security Act and Title 42 of the Code of
Federal Regulations.

20. Among the most crucial legal obligations of participating providers is

the requirement not to make false statements or misrepresentations of material facts

 

2 Fiscal Year 2022 — 2023 Proposed Budget, p. 7 https://myescambia.com/docs/default-
source/budget/FY 23-Proposed-Budget-Book-.pdf [last accessed August 29, 2022].
conceming payment requests. 42 U.S.C. §§ 1320a-7b(a)(1)-(2); 42 C.F.R.
413.24(f)(4)(iv).

21. Each of the federally funded health-care programs requires every
provider who seeks payment from the program to “enroll” and sign Provider
Agreements in order to establish their eligibility to seek reimbursement from the
Medicare and Medicaid Programs. 42 C.F.R. § 424.500 et seq. As part of these
agreements, without which the provider may not seek reimbursement from federal
health-care programs, the provider certifies compliance with Medicare laws,
regulations, and program instructions.

22. TRICARE/CHAMPVA is a federally-funded program that provides
civilian health benefits, including hospital services, to U.S Armed Forces military
personnel, military retirees, and their dependents, including some reservists.
Reimbursement from TRICARE/CHAMPUS also requires certifications similar to
those required for Medicare reimbursement. Consequently, whenever a Medicare
submission contains false data or information, the corresponding reimbursement

requests submitted to TRICARE/CHAMPUS are also false.
B.  Medicare’s Reimbursement for Ambulance Transportation and Services
23. Medicare reimburses medically necessary ambulance transportation.
24. Medicare requires ambulance providers to code their claims to reflect
whether the transportation is emergency or not, and whether it requires advanced or
basic life support.
Non-Emergency ambulance services

A0426 Advanced life support, level 1
A0428 Basic life support,

Emergency ambulance services
A0427 Advanced life support, level 1
A0429 Basic life support.

25. The government, through its various healthcare programs, pays more
for emergencies than for nonemergencies, and it pays more for “advanced” life
support services than for “basic” services

26. As described in more detail below, Escambia unlawfully up-coded its
ambulance services claims so as to charge the government for emergency services
when only non-emergency services were provided and, separately, to charge the

government for advanced services when only basic services were provided.

27. Federal law defines “emergency response”:

 

> Additional codes include:
e A0433, Advanced life support, level 2, (not designated emergency or nonemergency),
e A0434, Specialty care transport,
e A0425, Ground mileage (same rate for emergency, nonemergency, basic and advanced).

7
Emergency response means responding immediately at the BLS or
ALS1 level of service to a 911 call or the equivalent in areas without a
911 call system. An immediate response is one in which the ambulance
entity begins as quickly as possible to take the steps necessary to respond
to the call.

42 C.F.R. § 414.605 Definitions. (Emphasis added.) 4

28. Federal law distinguishes advanced from basic life support services

and defines advanced as:

Advanced life support (ALS) assessment is an assessment performed by
an ALS crew as part of an emergency response that was necessary
because the patient’s reported condition at the time of dispatch was such
that only an ALS crew was qualified to perform the assessment. An ALS
assessment does not necessarily result in a determination that the patient
requires an ALS level of service.

Advanced life support (ALS) intervention means a procedure that is, in
accordance with State and local laws, required to be furnished by ALS
personnel.

Advanced life support, level 1 (ALS1) means transportation by ground
ambulance vehicle, medically necessary supplies and services and either
an ALS assessment by ALS personnel or the provision of at least one
ALS intervention.

42 CER. § 414.605

29. Federal law adopts state and local law. 42 C.F.R. § 414.605.
30. Florida’s definition of “Advanced Life Support” adopts national

standards and further details specific skills and techniques.

 

4 This is a legislative rule with the force of law because Medicare reimburses ambulance
service providers “only to the extent provided in regulations.” 42 U.S.C. § 1395x(s)(7) (emphasis
added). See Warshauer v. Solis, 577 F.3d 1330, 1337 (11th Cir. 2009) (defining and
distinguishing legislative from interpretative rules).
401.23 Definitions.—As used in this part, the term:

(1) “Advanced life support” means assessment or treatment by a person
qualified under this part through the use of techniques such as
endotracheal intubation, the administration of drugs or intravenous
fluids, telemetry, cardiac monitoring, cardiac defibrillation, and other
techniques described in the EMT-Paramedic National Standard
Curriculum or the National EMS Education Standards, pursuant to rules
of the department.

Fla. Stat. § 401.23; See also § 401.23(2) (defining advanced life support service),
and § 401.23(7) and (8) (defining basic life support and basically support service).

31. CMS contemplated and specifically notified providers that
“Compliance with ... Emergency and Non-Emergency Ground Ambulance Services
may be monitored and addressed through post payment data analysis ....” Billing
and Coding: Emergency and Non-Emergency Ground Ambulance Services °

32. Medicare law obligates providers to provide services only to the extent
they are medically necessary, and only to the extent they are supported by evidence
of medical necessity. 42 U.S.C. § 1320c-5(a)(1) and (3).

C. The False Claims Act.

33. With the enactment of the federal False Claims Act, Congress
recognized the benefits of incentivizing integrity and repeatedly amended the Act to
further enhance the ability of the U.S. Government to recover losses to the federal

treasury sustained as a result of fraud.

 

> Local Coverage Article A57674 https:/;www.cms.gov/medicare-coverage-
database/view/article.aspx?articleld=57674&ver=5___ Whitcomb v. Burwell, Docket No. 13-CV-990,
2015 U.S. Dist. LEXIS 119875, at *5 (E.D. Wis. Sep. 9, 2015)”
34. Congress intended that the False Claims Act amendments enhance
incentives for individuals with knowledge of fraud against the federal government
and encourage the private bar to commit legal resources to prosecuting fraud on the
government’s behalf.

35. Congress has found that fraud in federal programs is pervasive and has
recognized the False Claims Act as the government’s primary tool for combating
government fraud.

36. The False Claims Act prohibits the submission of false or fraudulent
claims and false statements in order to obtain or keep federal money. 31 U.S.C. §§
3729-3733.

37. The Act allows any person having knowledge about a false or
fraudulent claim against the government to bring an action, to share in any recovery,
and to recovery reasonable costs, expenses, and attorney’s fees from a defendant if

the action is successful.

HII. Defendant’s Certification-related Misconduct
A. Defendant filed claims for services performed by unqualified personnel.
38. Defendant knowingly filed false claims for medical services performed
by unqualified personnel with fabricated certifications.
39. On information and belief, these false claims began before 2014 and

continue through the present.

10
40. In 2014, before Escambia County hired Dr. Edler, Dr. Edler worked in
the emergency room at Baptist Hospital, Pensacola. Dr. Edler had concerns about
the County’s emergency services and quality control following a failure in patient
care that ended in the patient’s death.

41. AnEscambia County paramedic had called Baptist hospital, and Dr.
Edler answered the call. The patient had been vomiting blood and the paramedic
witnessed a cardiac arrest. The paramedic had attempted resuscitation in the
patient’s home but failed to recognize or provide the critical care required for her
survival. The paramedic spoke with Dr. Edler for physician-approval to pronounce
this patient dead. In Dr. Edler’s medical opinion, the patient most likely had a
gastrointestinal bleed, and properly trained paramedics would have known the
patient needed blood for survival.

42. Dr. Edler reported the incident to the paramedic’s supervisor, Karen
Wood. But rather than looking into the incident, Ms. Wood filed a complaint about
Dr. Edler with the hospital and with the county’s then-Medical Director, Dr. Neal. In
response to the complaint, on July 19, 2014, Dr. Edler emailed Dr. Neil expressing
her concerns regarding patient care. Dr. Neil did not respond.

43. In another 2014 death also related to improper training, Aubrey
Nichols, a singer in a local band Timberhawk, suffered a cardiac arrest from a heart

defect. To help him breathe, paramedics inserted an endotracheal tube.

1]
44. This procedure, called endotracheal intubation, is considered routine
for properly trained emergency personnel. Paramedics learn the procedure in the
required training for Advanced Cardiac Life Support (ACLS).

45. But instead of properly inserting the tube which would direct air flow
to the patient’s lungs, they improperly inserted the tube and it forced air into his
stomach.

46. This is called esophageal intubation. Properly trained paramedics learn
to recognize this by monitoring the patient’s oxygen saturation, measuring the end-
tidal CO) and are trained to observe intubated patients for:

Bilateral, equal breath sounds

Bilateral chest wall movements

Absence of breath sounds / gurgling over the stomach / epigastrium

Fogging of the endotracheal tube

Tube / cuff palpation in the neck or suprasternal notch

Cyanosis, or its disappearance (a bluish cast to the skin and mucous

membranes).

47. Failure to identify intubation as esophageal rather than endotracheal is
often catastrophic, as it was for Mr. Nichols.

48. In Dr. Edler’s opinion, had the paramedics been properly trained to
observe for signs of esophageal intubation Mr. Nichols might be alive. His mother,

a nurse, learned of this mistake only because the hospital charged for a second

intubation, but by then the lack of oxygen had caused his brain death.

12
49. Around May 2016, just before he retired, former EMS Chief Patrick
“Pat” Kostic demoted James Bonoyer, former Captain in Charge of Training. But
Chief Kostic’s replacement, Stephen White, former Chief of EMS operation,
reinstated Bonoyer. As discussed below, in 2020, Florida Department of Law
Enforcement arrested Bonoyer and White and charged them with multiple crimes
relating to the falsification of training certifications.

50. On information and belief in the first part of 2017, the County paid
approximately $300,000 in reimbursements to Medicare and private insurance
companies for claims filed for one or more EMTs without proper certifications. But
the County failed to identify all staff without certifications and to report those false
claims. Consequently, these reimbursements were understated.

31. In 2017, Dr. Edler learned of two more deaths resulting from EMS
training/certification deficiencies and again brought them to the attention of County

administration. As later reported by The Pensacola News Journal:

 

Sean Harris, 28, was five days away from his wedding when he died in
a hospital bed on May 16, 2017. ... He was struck by an SUV the
night before while out with his friends celebrating his bachelor party.°

 

 

 

52. The response by Escambia County Emergency Medical Services was

captured on video and Mr. Harris’ mother, Nurse Dawn Bybee, showed the video to

 

6 https://www.pnj.com/story/news/2019/04/30/escambia-county-ems-nurse-fights-

change-after-video-sons-care-crash/3586888002/

13
Dr. Edler. Dr. Edler identified training-deficient care in the video which showed
EMS crew lifting Mr. Harris and Mr. Surgner (a passenger) to check their pulses,
without taking care to protect their necks (routine cervical immobilization), then
failing to open their airways, and even allowing Mr. Surgner to flop on the ground.
Both men died.

53. Mrs. Bybee attempted to reach out to EMS administration, Steve
White, Kate Kenney, and Leon Salter, but there was no response and nothing was
done. Mrs. Bybee then scheduled two meetings with County administration and
asked Dr. Edler to accompany her. During those meetings Dr. Edler met County
Administrator Brown and learned the County would soon have an open position for
medical director.

54. On information and belief, the County was aware of Emergency
Services’ deficiencies, including substandard care resulting from violations of
protocols and procedures and lack of training.

55. In May 2018, Escambia County hired Dr. Edler as its Medical Director.
She understood her responsibilities to include ensuring quality of care with
emergency and non-emergency medical transportation and services.

56. From the outset, emergency service management sought to undermine
Dr. Edler’s authority by characterizing her as an “independent” and outside the

emergency services chain of command.

14
57. On June 6, Steve White, Chief of the Emergency Medical Services,
sent her a lengthy email, “Chain of Command and Employee Engagement,”
copying his leadership team, limiting her role in the name of “working in harmony.”
Later that day, Dr. Edler emailed Matthew Coughlin, detailing why she disagreed
with this limitation of her role. Although she had not recognized this at the time,
later Dr. Edler came to understand that she was hired not for her medical skills,
knowledge and experience, but for her license. As discussed below, Mr. White is
one of the four Escambia personnel arrested in 2020 and charged with crimes
relating to falsifications and deficiencies Dr. Edler identified and attempted to
address.

58. On June 18, 2018, Dr. Edler emailed Eric Kleinert (HR Director) to
schedule an appointment and then on June 20 met with him and Paulette Stallworth,
with her concerns and incident reports relating to “to protocol violations,
insubordination, falsifying certifications, policy updates, employee files, and the
work environment at public safety.”

59. A few days later, on June 21, Dr. Edler learned of more forged
documents from Jessica Tanksley. Ms. Tanksley reported to Dr. Edler that she had
received her pediatric emergency card without taking the class, and that others were
not getting certified in more advanced pediatric classes because the County medical

equipment is “subpar.”

15
60. On June 22, Dr. Edler emailed Eric Kleinert, HR Director, about the
County’s Training Center’s falsification of certifications.

61. Dr. Edler’s meetings and emails implicated administration and staff in
the Department of Public Safety, including James Bonoyer, former Captain in
charge of training, quality assurance; Stephen White, former Chief of EMS
operation; former Section Chief Kate Kenney; and Lawrence Salter, Jr., former
deputy chief of EMS Operations. In response, all four of these management
personnel immediately filed harassment charges against Dr. Edler. As discussed
below, in 2020 all four were arrested and charged with crimes relating to the
falsifications and deficiencies Dr. Edler had identified and attempted to address.

62. On June 25, Dr. Edler met with Robert Dye, Risk Manager and Interim
Director of Facilities, to discuss her concerns with falsifying certifications, protocol
violations, and substantial noncompliance with state laws and regulations that
risked patient harm.

63. On June 26, Dr. Edler emailed Jack Brown, Matthew Coughlin, and
Mike Weaver, further expanding on these issues in a detailed email (approximately
1,500 words), header “Office of Administration, Professional Standards and
Community Engagement.”

64. On December 13, 2018, in response to Fire Chief Nail’s inquiries about

medical marijuana, Dr. Edler replied, copying others, her concerns about medical

16
marijuana and prescribed narcotics used by EMTs and medics, and her opposition to
having them risk patients’ lives “while under the influence of medications that cause
sedation, poor judgment, and delayed response time.”

65. On December 21, Dr. Edler learned from James Robinson, Assistant
Chief of the Denver Health Paramedic Division, that Denver had a no-tolerance
approach to medical marijuana use by EMS personnel because a large part of their
funding comes from Medicare.

Because marijuana is still illegal at the federal level, we have taken a no-

tolerance approach with employees. As with most EMS agencies, a large

part of our funding comes from Medicare via CMS and we cannot risk

that. ... Obviously, it is not permissible for use on duty.

December 21 email from James Robinson, Assistant Chief, Denver.

66. That same day, December 21, Dr. Edler forwarded Assistant Chief

Robinson’s “no-tolerance” email to Escambia management personnel.

67. These and other emails, meetings, and calls during 2018 identified:

Deficiencies and noncompliance with state regulations;

Out-of-date policies and missing policy and procedure manuals;

Personnel falsely placing Dr. Edler’s name on certifications for EMTs;
Distribution of fraudulent certifications;

Out of date equipment, such as an ambulance with portable ventilators and
IV pumps that were not calibrated, or were out-of-service; and

Patient risks and Medicare false claims relating to medical marijuana used

by an EMT.

17
68. Dr. Edler reported these to her superiors and others in Escambia
County Administration.

69. Curing these deficiencies required training and equipment and on
January 2019, Fire Chief Rusty C. Nail drafted a proposal for an emergency request
for funding, noting “this is extremely time sensitive, as I feel the normal
procurement process will increase our likelihood of negative outcomes in the
interim timeframe.”

70. During the early months of her employment, when Dr. Edler disputed
the constraints put on her medical authority she was not aware of the legal
requirements for a County’s medical director. However, around late February or
early March 2019, Dr. Edler learned that Florida Statutes set forth responsibilities
for medical directors. See § 401.265 (Medical Director responsibilities). See In Re
Miami-Dade Fire Rescue, DOH 2007-0102, Final Order Granting Petition for
Declaratory Statement, (relating to medical director’s scope of authority over
paramedics and emergency medical technicians). See generally Florida Statute, Ch.
401, Medical Telecommunications and Transportation.

71. Dr. Edler also learned Escambia County’s Emergency Medical Service
operates under the supervision of the Florida Department of Health, Bureau of
Emergency Medical Services, within the framework of the Emergency Medical

Transportation Services Act. See Fla. Stat. §401.2101, et seq.

18
72. On March 18, 2019, Dr. Edler wrote a confidential report to the Florida
Department of Health detailing her concerns, including violations of §§ 401.411
(licensure violations) and 401.265 (Medical Director responsibilities).

73. On May 8, 2019, EMS investigator Kimberly Moore, Florida
Department of Health, Division of Emergency Preparedness and Community
Support, notified the County of an investigation of the issues raised by Dr. Edler.

74. On May 9, Dr. Edler wrote the County Commission detailing the harms
from the Commission’s failure to fund training and attached a statement she sought
the commissioners to sign labeled “AGAINST MEDICAL ADVICE —
ACKNOWLEDGMENT AND WAIVER?” (all caps original) which included this

warning:

 

Failure to proceed forward with this initiative on an EMERGENCY
request exposes the citizens and visitors of Escambia County to a
higher than necessary risk of substandard emergency medical care.
Liability increases exponentially each day this request is delayed.

 

 

 

75. The complaints detailed violations, including falsified records:

October 18, 2017: ACLS, BLS, and PALS provider cards issued to Mr.
Salter despite there being no roster to confirm his attendance at any of these
courses.

November 1, 2017: ACLS and BLS provider cards issued to Ms. Wood with
no roster or course to confirm her attendance.

January 18, 2018: Mr. Salter, Ms. Kenney, and Mr. White documented in
their record/log that they taught Basic Life Support (BLS) and Advanced

19
Cardiac Life Support (ACLS) courses. However, they were not on the roster
and did not assist with these courses.

February 1, 2018: ACLS, BLS, and PALS provider cards were issued to Ms.
Kenny despite there being no roster to confirm her attendance at any of
these courses.

March 13, 2018: Jim Bonoyer, Training Center Coordinator, listed as
assistant instructor for a Pediatric Advanced Life Support (PALS)
instruction course. Similarly, Steve White, Chief of EMS Operations,
Katherine Kenny, Chief of Administration, Professional Standards and
Community Engagement, and Leon Salter, Deputy Chief of EMS
Operations. But none of these individuals assisted or even attended the
course.

May 1, 2018: ACLS and BLS provider cards were issued to Mr. White
despite there being no roster to confirm his attendance at any of these
courses.

June 13, 2018: Mr. White was issue a PALS provider card dated June 13,
2018, despite there being no course offered on this day. Additionally, there
was no roster or test to verify this credential.

76. On May 13, 2019, Dr. Edler filed another confidential complaint with

the Florida Department of Health.

77. Dr. Edler notified her supervisor and HR. This resulted in retaliation

and harassment against Dr. Edler including two official formal “counseling

notifications” in June 2019.

78. The first “counseling notification,” on June 7, followed immediately

after Dr. Edler’s identification of criminal and civil violations. Escambia disciplined

20
Dr. Edler for her lack of leadership and poor communications but these “reasons”
were mere pretext.

79. On July 9, 2019, John Dosh wrote to Edler rejecting her
recommendation to demote paramedic Selover.

80. Despite the leaked complaints and the knowledge of the falsifications
by upper-level administration and management, the falsification of credentialing
documents continued, e.g., July 19, 2018 for Ms. Wood’s ACLS and BLS.

81. Harassment encouraged at the highest levels continued against Dr.
Edler. On January 27, 2020, Dr. Edler wrote Sgt. Jerry Champion and others about
County Commissioner Bergosh’s writing on his blog attempting to protect Mr.
Selover and encouraging litigation against Dr. Edler. For example, employee Ms.
Chavers had reported that Mr. Selover had encouraged her to file a false
harassment/retaliation claim against Dr. Edler. When Ms. Chavers refused to file a
false report, Commissioner Bergosh posted confidential information about her on
his blog.

82. In February 2020, the Florida Department of Health notified Escambia
County of an administrative complaint against Escambia County Public Safety
Department. Case 2019-11689. The complaint alleged departure from minimal
prevailing standards of acceptable practice for emergency medical technicians,

paramedics, healthcare professionals, and other professionals not qualified by

21
training or experience. § 401.411(1)(g), Fla. Stat. The complaint alleged that
Escambia’s Public Safety Department issued recertification cards to instructors who
had not met 22equireements for re-certifications. These certifications included:
Advanced Cardiac Life Support (ACLS), Basic Life Support (BLS), Pediatric
Advanced Life Support (PALS), and Pediatric Emergency Assessment Recognition
and Stabilization (PEARS).

83. Dr. Edler’s complaint to the Department of Health also initiated
investigations by the Florida Department of Law enforcement. In March 2020, this
investigation resulted in arrests and charges of these former Department of Public
Safety officers:

Deputy Chief of EMS Operations, Lawrence Salter, Jr.: three counts of
official misconduct, a third-degree felony; three counts of uttering a forged
instrument, third-degree felony; and two counts of paramedic license fraud.
Captain in Charge of Training, James Bonoyer: one count of Racketeering,
a first-degree felony; 23 counts of official misconduct, a third-degree
felony; 20 counts of forgery, a third-degree felony; and 13 counts of
paramedic license fraud, a first-degree misdemeanor.

Section Chief and paramedic Supervisor, Kate Kenney: one count of
racketeering, a first-degree felony; five counts of Official Misconduct, a
third-degree felony; five counts of Uttering a Forged Instrument, a third-
degree felony; and four counts of paramedic license fraud.

Chief of EMS operation, Stephen White: one count of racketeering, a first-

degree felony; eight counts of official misconduct, a third-degree felony; six

22
counts of uttering a forged instrument, a third-degree felony; and two

counts of paramedic license fraud, a first-degree misdemeanor.

84. Below is asummary of these executives’ charges and adjudications. ’

 

Criminal charges and adjudications
against Escambia’s EMS Senior
Management

Charges

Adjudications:
No Contest

Deferred
Prosecution,
Withheld
Adjudication

 

Conceal information re medical
transportation, Fla. Stat. 401.41(1)(c)

 

Official misconduct re false or
fraudulent claims to procure or
renew a certificate, Fla. Stat.
401.41(1)(d)

 

False statements, certifications, Fla.
Stat 403.161(1)

14

 

Forgery, Fla. Stat 831.01 or .02
(felony)

35

 

Public servant falsify official
documents, Fla. Stat. 838.022(1)(a)
(felony)

38

 

Concealing, covering up, destroying,
mutilating, or altering any official

838.022(1)(b) (felony)

record or official document, Fla. Stat.

 

Obstruct, delay comm. involving
govt. entity, Fla. Stat. 838.022(1)(c)
(felony)

 

Racketeering, Fla. Stat. 895.03
(felony)

 

 

 

 

 

 

7 Regardless of these former employees’ criminal convictions for all charges, a “ violation of
[the False Claims] Act must be established by a mere preponderance of the evidence” United
States v. Entin, 750 F. Sup. 512, 518 (S.D. Fla. 1990).

23

 
85. A March 24, 2020 article on the arrests reported Dr. Edler’s role as the

original source of the information leading to these arrests.

 

State Attorney Bill Eddins said the arrests are the result of a detailed and
lengthy investigation by the Florida Department of Law Enforcement into
the alleged falsification of official records of the Escambia County
Department of Public Safety. The investigation began after a 2019 letter
from Escambia County Medical Director Dr. Rayme Edler.

 

 

 

http://www.northescambia.com/2020/03/breaking-four-arrests-in-escambia-county-
ems-investigation (emphasis added).

B. Defendant acted “knowingly” when it certified compliance.

86. The FCA defines “knowingly” as follows:

 

the terms “knowing” and “knowingly” mean that a person, with respect
to informat——- (i) has actual knowledge of the information; (ii) acts in
deliberate ignorance of the truth or falsity of the information; or (iii)
acts in reckless disregard of the truth or falsity of the information; and
no proof of specific intent to defraud is required.

 

 

 

31 U.S.C. § 3729(b).

87. Escambia knowingly presented or caused to be presented these claims
for services with actual knowledge of their falsity, or in deliberate ignorance or
reckless disregard that such claims were false and fraudulent.

C. Defendant files claims.

88. During the years 2014 through 2020, Medicare part B reimbursed

Defendant approximately $4.6 million per year for codes A0425 through A0434. On

information and belief, this level of reimbursement continues to the present.

24
89. Defendant also files Medicaid, TRICARE and CHAMPVA claims. and
insurance claims covering Federal employees and their families. Relator does not
know the amount of these claims, but estimates the federal government’s portion of
Medicaid falls in the same order of magnitude as the annual Medicare claims.

90. Relator does not allege that all of the County’s claims are false.
Documentary evidence necessary to identify the fraudulent claims is in the

possession of Defendant and the United States.

IV. Defendant Up-coded claims

91. The government pays more for emergencies than for non-emergencies,
and it pays more for “advanced” life support services than for “basic” services.

92. Escambia filed claims for emergency services when it rendered only
non-emergency services and filed claims for advanced life support despite rendering
only basic life support services.

A. Escambia falsely claims non-emergencies as emergencies.

93. For the years 2014 through 2020, Medicare Part B reimbursed
Escambia, on average, $313 for emergency services and only $199 for non-
emergency services (excluding mileage).

Emergency Advanced and Basic life support (A0427, A0429) $313
Non-Emergency Advanced and Basic life support (A0426, A0428) $199
Exhibit 1 at 3.

25
94. Each false claim Escambia submitted charging the government for an
emergency response despite only rendering non-emergency services generated, on
average, an additional $114 per claim ($313 — $199). Exhibit 1 at 3.

95. Claims for emergency services when nonemergency services were
provided are material under the False Claims Act because they have a natural
tendency to influence, or be capable of influencing, the government’s payment.

96. Had the government known that Escambia made claims for emergency
services when only nonemergency services were provided, it would not have paid at

the emergency rate.

1, Escambia claimed “emergency” for 98% of its Medicare reimbursements.

97. CMS reported Escambia claimed “emergency” for 98% of its
reimbursements under Medicare part B in the years 2014 through 2020. Exhibit 1.

98. As the county’s medical director, Dr. Edler’s responsibilities involved
medical decisions. She had few interactions with claims, and these involved claims
on private insurance companies that required verification. Dr. Edler did not track
emergency versus nonemergency calls as part of her job. Nor was she responsible
for making emergency vs nonemergency billing decisions (except the occasional
private insurance verifications). However, she has a clear recollection that far fewer

than 98% of the calls were emergency.

26
99. Dr. Edler estimates that emergency calls represented just over half of

the ambulance trips undertaken by Escambia.

2. 98% emergency is not possible because of scheduled nonemergency transports.

100. Escambia’s claimed 98% emergency transportation under Part B is not
possible because Escambia is not solely dedicated as a 911/Public Emergency
agency. In addition to emergency transports, it performs many of the more lucrative
scheduled interfacility/nonemergency transports.

101. Scheduled (therefore nonemergency) transfers are more lucrative than
nonscheduled emergency transportation because scheduled transportation can be
preapproved for payment.

102. Nonemergency transfers represent more than 2% of annual ambulance
rides in Escambia.

103. Notwithstanding that Escambia suffered continuing vehicle and
staffing shortages, it prioritized these more lucrative nonemergency prescheduled
transfers over actual emergency responses.

104. As aresult, Escambia’s actual or real emergency response time
suffered.

105. Commissioner Bergosh explained that Escambia, unlike many other
counties, does not contract out ambulance services because they provide high-

margin revenue. See below at P 137.

27
106. Medicare covers medically necessary nonemergency ambulance
services that are either unscheduled or that are scheduled on a nonrepetitive basis
under only limited circumstances (but does not pay at emergency rates). 42 C.F.R. §
410.40(e)(3).

3. Contemporaneous reports controvert its 98% claimed emergency rates

107. To qualify for billing at the emergency rate, an ambulance service is
required to respond to the call for help as quickly as possible. 42 C.F.R. § 414.605.

108. To facilitate emergency responses “as quickly as possible,” Florida
exempts ambulances from other vehicles’ speed limits so long as the emergency
ambulances operate with lights and sirens. Florida Statute § 316.072(5)(a) (limited
exempting from traffic laws for emergencies), § 316.126(3) and § 316.271(6)
(requiring lights and sirens).

109. Escambia’s on-the-scene EMTs and paramedics contemporaneously
report and record whether they use lights and sirens.

110. Escambia’s internal data show contemporaneously recorded reports of
lights and sirens at a rate far below 98%.

111. Escambia data analyst Lindsay Ritter sent Dr. Edler an email with the
subject line: “PCR’s with trip tickets” with an attached spreadsheet. In addition to

other information, the spreadsheet identified the “Disposition” of ambulance calls

28
from November 23, 2017 through October 31, 2019 for 18 medics/EMTs who
taught AHA classes.

112. The spreadsheet records 14,353 patient transports.°

113. The “disposition” reports whether light/siren were used or not on each

of these 14,353 calls.

Lights/Siren 1,671 12%
No Lights/Siren 12,615 88%
No Lights/Siren, Upgraded 31 0%

14,353 100%

114. Because 42 C.F.R. § 414.605 requires responding “as quickly as
possible” to emergencies, and Florida statutes require ambulances responding as
quickly as possible to use their lights and sirens, data reporting a high percentage of
no lights and no siren use indicate the trip was not in fact responded to as quickly as

possible and was not truly an emergency.’

 

8 Many calls do not result in patient transports. Instead, their disposition includes: Canceled
Prior to Arrival, 1,391; Canceled on Scene, No Patient, 668; Patient Refused Evaluation/Care
without Transport, 536; and others.

° See generally, Billing and Coding: Emergency and Non-Emergency Ground Ambulance
Services (“Compliance with ... Emergency and Non-Emergency Ground Ambulance Services
may be monitored and addressed through post payment data analysis ....” Article AS57674
https://www.cms.gov/medicare-coverage-database/view/article.aspx?articleld=57674&ver=5 Whitcomb
v. Burwell, Docket No. 13-CV-990, 2015 U.S. Dist. LEXIS 119875, at *5 (E.D. Wis. Sep. 9, 2015).

29
115. Because Escambia’s
100%
contemporaneous reports recorded 88% of
these 14,353 calls did not use lights and
. . 75%
sirens, and therefore did not respond “as
quickly as possible,” a large percentage of
Escambia’s emergency claims were actually 50%
for nonemergency services.
116. Escambia’s dispatch department
25%

did not assign paramedics or EMTs,

individually or by class of certification, based

 

on whether a call was emergency or 0%
Escambia Claims Escambia No lights
/sirens

nonemergency.
@Emerg mNon Emerg
117. Escambia billed the government
as if 98% of its ambulance responses were emergencies when, according to its own
contemporaneous documents, only 12% actually were. Escambia’s No Lights/Siren
documents (Exhibit 1 at 2).

118. To the extent Escambia’s 14,353 records are representative, 86%

(98%— 12%) of Escambia’s claims were false claims and not reimbursable.

30
4. National and adjacent county claims are approximately 60% emergency

119. In contrast to Escambia’s 98%

100.0%
emergency claim rate, the rest of the nation’s
Medicare part B claims average 40% non-

75.0%
emergency, and 60% emergency. Exhibit 1
(showing Part B claims from 2014 to 2020).

120. Similarly, ambulance service “ee

claims in Escambia’s neighboring counties
Santa Rosa, FL, and Baldwin and Escambia 25.0%
Ala, approximate national norms, showing
slightly fewer non-emergency (39%) and more 0.0%

Escambia Santa Rosa, Nationwide Escambia

emergency (61%) Medicare Part B claims. Ce evn Poe ee
Escambia
Exhibit 1 (averaging ambulance service Ala

WEmerg #Non Emerg

providers from 2014 to 2020).

121. Assuming for purposes of illustration that the nationwide average 60%
emergency is correct, rather than Escambia’s claimed 98%, then Escambia up-coded
34,904 of its 90,371 Medicare Part B claims during those years. Assuming an
average up-code of $114, this totals an additional $3,978,510. Exhibit 1 at 3.

122. The preceding allegations and calculations focus only on Medicare Part

B emergency claims. However, on information and belief, Escambia submitted

31
similar false claims to other government healthcare programs at the same rates as it
submitted them to Medicare Part B. These other programs included Medicare Part
C, Medicaid, Tricare, military and federal employees’ family coverages. Because
many Medicaid beneficiaries, and federal employees, retirees, and their families
reside in and visit Escambia, the estimated $3,978,510 for 34,904 Part B false
claims understates the total dollar amount and number of Escambia’s false claims.
123. Regardless of the datapoint used, national averages, adjacent county
averages, or Escambia’s own contemporaneous documents, it is clear that an
enormous number of Escambia’s claims for emergency ambulance services are false
and up-coded claims for non-emergency services.
B. Escambia claimed advanced life support but provided basic life support
124. Medicare requires providers to characterize ambulance services as
providing either advanced or basic life support.
125. To facilitate the different reimbursement rates for these different
categories of services, Medicare requires use of the below billing codes.
Advanced Life Support
A0426 Adv life support, non-emerg transport, level 1

A0427 Adv life support, emerg transport, level 1
A0433 Advanced life support, level 2

Basic life support
A0428 Basic life support, non-emerg transport

A0429 Basic life support, emerg transport

32
126. As with the emergency vs non-emergency up-code, billing for

advanced life support generates higher reimbursements than billing for basic life

support. During the years 2014 to 2020,
falsely claiming a basic life support service as
an advanced life support encounter generated
an additional $51 per claim. Exhibit 1 at 3.
127. Medicare part B reported that for
the years 2014 through 2020 Escambia
claimed Advanced Life Support for more than
71% of its transports, far more than its
neighbors, and the rest of the nation’s Part B
ambulance services which claimed 54% and

40% respectively. Exhibit 1 at 2.

100%

15%

50%

25%

0%

Escambia Santa Rosa, FL, Nationwide
Claims and Baldwin Part B
and Escambia
@ AdvancedAl# Basic

128. For Escambia’s 90,371 Medicare Part B claims from 2014 to 2020,

comparing Escambia’s percent of Advanced Life Support claims with the

nationwide rate shows a 31% up-code rate of more than 28,000 false claims and

$1.4 million in unearned reimbursements. Exhibit 1, p. 3.!°

 

10

This estimate is understated because it does not includel,002 payments for

Advanced life support, level 2, A0433, which averaged $473 per payment (2014 — 2020).

33
129. As with the emergency up-code analysis, the preceding allegations and
calculations focus only on Medicare Part B emergency claims. Because many
Medicaid beneficiaries, and federal employees, retirees, and their families reside in
and visit Escambia, these estimated Part B false claims also understate the total
dollar amount and number of Escambia’s false claims

130. Similar to the up-coded emergency vs nonemergency claims described
above, these up-coded “Advanced” claims are literal false claims. Escambia billed
the government for services it did not provide. Alternatively, Escambia billed the
government for medical services which were not necessary and reasonable and were
therefore false claims.

131. Ifthe government had known the true facts, that only basic services
were provided, it would not have paid Escambia at the more lucrative advanced
services rate.

132. IfEscambia’s claims were true — that it is called upon to provide
Advanced Life Support at a rate more than 30% more often than the rest of the
country — it would require far more paramedics to deal with the much higher
volume of serious Advanced Life Support patients. This significantly greater
demand for advanced services makes Escambia’s falsifications of certifications and

trainings all the more egregious.

34
C. Escambia knowingly up-coded claims.

133. Under the FCA, knowledge is defined as: (1) having actual knowledge
of the information; (2) acting in deliberate ignorance of the truth or falsity of the
information; or (3) acting in reckless disregard of the truth or falsity of the
information. 31 U.S.C. § 3729(b)(1). No proof of specific intent is required. 31
U.S.C. § 3729(b)(1)(B).

134. Congress added reckless disregard to the FCA to capture “the ostrich
type situation where an individual has buried his head in the sand and failed to
make simple inquiries which would alert him that false claims are being submitted.”
Yates v. Pinellas Hematology & Oncology, P.A., 21 F.4th 1288, 1303 (U.S. 11th Cir.
2021) (internal cites omitted).

135. Escambia’s management knew, acted in deliberate ignorance, or acted
in reckless disregard of these up-codes. 31 U.S.C. § 3729(b)(1).

136. On information and belief, one reason for this is because Escambia
identifies and treats its EMS ambulance services as an “enterprise fund.” '! An
“enterprise fund” is something that the County has “financed and operated in the

manner of a private business.” |.

 

'' Annual budget, page 529. https://myescambia.com/docs/default-source/sharepoint-
administration/budget/2020_budget_escambia-countyv5.pdf?sfvrsn=8bdclb6c_4

'2 Annual budget, id. at page 525.

35
137. Unlike counties that contract out ambulance services to private
companies, Escambia manages its EMS service in-house. During an official
televised meeting of the Board of County Commissioners, Commissioner Bergosh
explained why the County provides ambulance services, rather than private
contractors: “It’s an enterprise fund for us,”'? and repeated:

“It generates revenue for us,”
“It generates revenue for us,”

138. Comm. Bergosh summarized: “Our guys should be doing it because it
generates revenue. ... It spins off additional revenue.” Jd.

139. During the brief discussion that followed, no Commissioner disagreed
with this explanation. Not one mentioned health and safety. Jd.

140. Comm. Bergosh is correct that the county’s ambulance business spins
off additional revenue. For example, in 2018 the county pocketed profits exceeding
$3.5 million dollars when it transferred $3,596,251 from its Emergency Medical

Services Enterprise Fund 408 to its General fund 001.'4

 

BECTV, Oct. 15, 2020 BCC Regular Meeting, MyEscambia, at 16:30-17:30 (Oct. 15, 2020),
https://escambiacountyfl.new.swagit.com/videos/87252.

'* Annual budget 2018 p. 6 https://myescambia.com/docs/default-source/sharepoint-
administration/budget/proposed-17-18-budget-book.pdf?sfvrsn=32d8296d_4

36
141. Escambia’s knowledge may be imputed from its employees’ acts
because “the knowledge of an employee is imputed to the corporation when the
employee acts for the benefit of the corporation and within the scope of his
employment.” Grand Union Co. v. United States, 696 F.2d 888, 891 (11th Cir.
1983) (finding sufficient allegations of wrongdoing where the complaint set forth
facts showing check-out cashiers knowingly accepted food stamps for non-food
items). See also United States v. Hill, 676 F. Supp. 1158, 1178 (N.D. Fla. 1987)
(same).

142. Each of the Escambia employees responsible for coding, billing, and/or
summitting the false claims identified above were acting within the scope of their
employment and for the benefit of Escambia.

143. Unscrupulous providers too often get away with this type of low dollar,
expensive-to-discover-and-prove false claims. This is because Medicare initially
pays almost all claims. Only later, if it determines a claim should not have been
paid, does it seek reimbursement. 42 C.F.R. § 413.64 (f) (describing retroactive
adjustments). This is known as “pay and chase.” United States v. Advantage

Medical Transport Inc., 698 F. App’x 680, 682 n.2 (3d Cir. 2017).

37
V. Escambia’s Retaliation and FMLA violations.
A. Escambia’s retaliation against Dr. Edler violated the False Claims Act.

144. Dr. Edler opposed Escambia’s illegal practices. She voiced her views
to her superiors and others on multiple occasions. As a result of her identification
and bringing to light the civil and criminal violations described above, Relator has
experienced retaliation, intimidation, and harassment.

145. Defendant knew or should have known that Relator engaged in the
protected activity.

146. Relator’s reporting of the illegal conduct was both lawful and a
protected activity under 31 U.S.C. § 3730(h).

147. As adirect and immediate consequence of Defendant’s actions and
failures to act, Dr. Edler has been harmed and is entitled to obtain relief in her own
right under 31 U.S.C. § 3730(h).

B. Escambia violated the Family Medical Leave Act.

148. The Family Medical Leave Act, 29 U.S.C. § 2601 et seq., (FMLA) and
the implementing regulations, 29 C.F.R. Part 825, require that certain employers
permit their employees to take periods of leave while protecting the employees’ job
and benefits status.

On return from FMLA leave, an employee is entitled to be returned to

the same position the employee held when leave commenced, or to an

equivalent position with equivalent benefits, pay, and other terms and
conditions of employment. An employee is entitled to such

38
reinstatement even if the employee has been replaced or his or her
position has been restructured to accommodate the employee's absence.
29 C.FR. § 825.214.

149. The regulations define an “equivalent position” as:

An equivalent position is one that is virtually identical to the employee's
former position in terms of pay, benefits and working conditions,
including privileges, perquisites and status. It must involve the same or
substantially similar duties and responsibilities, which must entail

substantially equivalent skill, effort, responsibility, and authority.
29 C.FR. § 825.215(a).

150. Escambia is an employer under the FMLA that is required to offer its
employees protected FMLA leave.

151. Dr. Edler was an employee of Escambia entitled to FMLA protection.

152. Dr. Edler complied with the FMLA.

153. She requested and was approved to take a period of FMLA leave.

154. Her approved FMLA leave began on or about June 25, 2021, and was
scheduled to end on or about Friday, September 17, 2021.

155. This period of leave was necessitated by the crush of retaliation she
had been experiencing for her role in reporting and attempting to stop the frauds
which form the basis of this gui tam action.

156. Dr. Edler complied with Escambia’s polices and procedures by
contacting her supervisor one week before her period of FMLA leave was set to end
to coordinate her return to work which was scheduled to occur on or about Monday
September 20, 2021.

39
157. In response, Dr. Edler was directed not to resume her job duties but
instead to report to Assistant County Administrator Bowers.

158. When Dr. Edler met with Ms. Bowers, she was presented a letter
informing her that she was being terminated and that she was “immediately relieved
of [her] duties as the EMS Medical Director.”

159. In addition, Dr. Edler was instructed to cease performing her job duties
as Medical Director and to instead spend the following 90 days performing the
different and new job duties associated with serving as the in-house physician for
County jail inmates or detainees.

160. Performing routine on-site medical care for persons at the County jail
was never a part of Dr. Edler’s job.

161. In fact, she is not qualified by education, training, or experience to
serve in this capacity.

162. Dr. Edler is an accomplished and Board-Certified Emergency Medicine
Physician with substantial EMS experience.

163. She holds no Board Certifications, specific education, training, or
experience related to Family Medicine, Internal Medicine, or Primary Care generally.

164. It would be medically and professionally inappropriate for Dr. Edler to

treat jail patients in a non-emergency capacity.

40
165. Her pre-leave role of providing a few hours per week of Medical
Direction at the jail is in no way equivalent to providing direct in-patient care to
persons at the jail.

166. The new job, providing routine on-site medical care at the jail, was not
an equivalent position.

167. Through counsel, Dr. Edler informed Escambia that she would not
perform this new job of in-house physician at the jail.

168. As aresult, Escambia issued a letter dated September 29, 2021, falsely
stating that Dr. Edler had “abandoned” her job and would no longer be paid unused

and accrued leave. Doc. 38-1.

169. The termination letter also recited the following pretextual explanation

for Dr. Edler’s termination:

 

Due to the restructure of the Public Safety Department, your position
of EMS Medical Director will be eliminated December 19, 2021...
[T]his letter serves as the ninety-day written notice of the abolishment
of your position with Escambia County.

 

 

 

170. This explanation was false and pretextual.

171. The position of EMS Medical Director was not abolished.

 

https://ecf.find.uscourts. gov/doc1/04918371670

41
172. State and local laws and regulations require that Escambia contract
with and/or employ an EMS Medical Director. See e.g., Fla. Stat. 401.26516 and
Fla. Admin. Code 64J-1.004

173. In fact, during her leave, Escambia executed a contract with other
physicians under which those other physicians were engaged to perform the same
services and tasks Dr. Edler had been performing — the same services and tasks

Escambia is required by law to contract with a Medical Director to provide.

VI. Count I: Certification-Related False Claims Act Claims
A. Submission of False Claims, 31 U.S.C. § 3729(a)(1)(A).

174. Relator incorporates by reference all the Part III Certification-Related
allegations of this Complaint, as if fully set forth herein.

175. Defendant knowingly presented or caused to be presented false or
fraudulent claims for payment or approval to the United States, acting through the
Medicare and Medicaid programs.

176. As of the date of filing, any person found to have violated the FCA is
liable for a civil penalty of not less than $12,537 and not more than $25,076 for

each such violation, plus three times the damage sustained by the Government.

 

'6 “Fach basic life support transportation service or advanced life support service
must employ or contract with a medical director.” Fla. Stat. 401.265.

42
B. Use of false records or statements, 31 U.S.C. § 3729(a)(1)(B).

177. Relator incorporates by reference all the Part III Certification-Related
allegations, as if fully set forth herein.

178. Defendant knowingly made, used, and caused to be made or used, false
records or statements to get false or fraudulent claims paid and approved by the
United States for reimbursement.

179. As of the date of filing, any person found to have violated the FCA is
liable for a civil penalty of not less than $12,537 and not more than $25,076 for
each such violation, plus three times the damage sustained by the Government.

C. Reverse False Claim, 31 U.S.C. § 3729(a)(1)(G).

180. Relator incorporates by reference all paragraphs of this Complaint,
other than her retaliation and FMLA allegations, as if fully set forth herein.

181. Escambia made, used, or caused, to be made or used, a false record or
statement material to an obligation to pay or transmit money or property to the
government, concealed or knowingly and improperly avoided or decreased an
obligation to pay or transmit money or property to the government, or both.

182. As of the date of filing, any person found to have violated the FCA is
liable for a civil penalty of not less than $12,537 and not more than $25,076 for

each such violation, plus three times the damage sustained by the Government.

43
D. Unlawful retaliation against Dr. Edler, 31 U.S.C. § 3730(h).

183. Relator incorporates by reference all paragraphs of this complaint as if
fully set forth herein.

184. Relator’s reporting of unlawful conduct resulted in retaliation for
protected acts taken by Relator to report violations of the False Claims Act and in
retaliation for other lawful acts taken by Relator in furtherance of an action under
the False Claims Act and/or the reporting of unlawful conduct.

185. County and EMS administration who took part in this retaliation
include:

Bergosh, Jeffrey, Commissioner,

Bonoyer, James, Captain in Charge of Training and Training Center
Coordinator (later arrested).

Coughlin, Matt, Interim County Administrator, Escambia County,

Dosh, John, Public Safety Director, Escambia County,

Kenney , Katherine , EMS Section Chief and paramedic Supervisor (later
arrested).

Kleinert, Eric, Human Resources Director of Escambia County,

Lovoy, Amy, Interim County Administrator,

Peppler, Charles V., Deputy County Attorney,

Rogers, Alison, County Attorney,

Salter, Leon, Deputy Chief of Escambia Emergency Medical Services, (later
arrested),

Spainhower, Edward, Human Resources Associate,

Weaver, Mike, Public Safety Director of Escambia County, and

44
White, Steve, Chief of the Emergency Medical Services (later arrested). _

186. Defendant’s retaliatory acts have proximately caused Relator to suffer
and to continue to suffer substantial damage, including special damages, in an
amount to be proven at trial.

187. As adirect and immediate consequence of the County’s actions and
failures to act, Dr. Edler has been harmed and is entitled to obtain relief in her own

right under 31 U.S.C. § 3730(h).

VIL. Count II: False Claims Act Up-code Claims
A. Submission of false claims, 31 U.S.C. § 3729(a)(1)(A).

188. Relator incorporates by reference the Part IV up-code allegations as if
fully set forth herein.

189. The False Claims Act, 31 U.S.C. § 3729(a)(1)(A), imposes liability
upon those who knowingly present or cause to be presented false claims for
payment or approval.

190. Defendant knowingly and willfully violated the False Claims Act by
presenting, or causing to be presented, false claims for payment or approval.

191. Specifically, for at least the last ten years, Defendant presented, or
caused to be presented, medical bills to Government Healthcare Programs including

Medicare and Medicaid seeking payment for services that were not reasonably

45
medically necessary, were rendered incompetently, rendered incompletely, or not
rendered at all.

192. Defendant knew or should have known (as defined in 31 U.S.C. §
3801(a)(5)) that it has for at least several years made, presented, or submitted, or
caused to be made, false or fraudulent claims for payment to Government
Healthcare Programs.

193. Each of the claims submitted or caused to be submitted by Defendant
is a separate false and fraudulent claim.

194. Defendant presented or caused to be presented these claims knowing
their falsity, or in deliberate ignorance or reckless disregard that such claims were
false.

195. The United States was unaware of the foregoing circumstances and
conduct of Defendant and, in reliance on said false and fraudulent claims,
authorized payments to be made to Defendant, made such payments, and has been
damaged.

196. Because of these false or fraudulent claims submitted or caused to be
submitted by Defendant, the United States has been damaged in an amount to be

determined at trial.

46
B. Use of false records or statements, 31 U.S.C. § 3729(a)(1)(B).

197. Relator incorporates by reference the Part IV up-code allegations as if
fully set forth herein.

198. The False Claims Act, 31 U.S.C. § 3729(a)(1)(B), imposes liability
upon those who knowingly make, use, or cause to be made or used, false records or
statements material to a false or fraudulent claim.

199. Defendant knowingly and willfully violated the False Claims Act by
making, using, or causing to be made or used, false records or statements material
to false or fraudulent claims.

200. Specifically, for purposes of obtaining or aiding to obtain payment or
approval of reimbursement claims made to Government Healthcare Programs, for at
least the last ten years, Defendant made or presented, or caused to be made or
presented, to the United States false or fraudulent records, knowing these records to
be false or fraudulent, or acting with reckless disregard or deliberate ignorance
thereof.

201. Each medical record, bill, and invoice submitted to the Government in
support of Defendant’s above-described false claims is a separate false record or
statement and separate violation of 31 U.S.C. § 3729(a)(1)(B).

202. The United States was unaware of the foregoing circumstances and

conduct of Defendant and, in reliance on said false and fraudulent records,

47
authorized payments to be made to Defendant, made such payments, and has been
damaged.

203. Because of these false or fraudulent statements submitted or caused to
be submitted by Defendant, the United States paid the claims, resulting in damages
to the United States in an amount to be determined at trial.

C. Concealing Obligation to refund funds, 31 U.S.C. § 3729(a)(1)(G).

204. Relator incorporates by reference the Part IV up-code allegations as if
fully set forth herein.

205. The False Claims Act, 31 U.S.C. § 3729(a)(1)(G), imposes liability
upon those who knowingly make, use, or cause to be made or used, false records or
statements material to an obligation to pay or transmit money or property to the
Government, or knowingly conceals or knowingly and improperly avoids or
decreases an obligation to pay or transmit money or property to the Government.

206. Upon receipt of improperly inflated reimbursements, Defendant had an
obligation to repay and refund to the Government the amount of the overpayment.

207. Defendant knowingly and willfully violated the False Claims Act by
failing to so repay or refund overpayments it received.

208. Each improperly inflated reimbursement received by Defendant
generates a separate obligation to repay or refund those ill-gotten monies and

Defendant’s failure to do so is a separate violation of 31 U.S.C. § 3729(a)(1)(G).

48
209. The United States was unaware of the foregoing circumstances and
conduct of Defendant.

210. Had the Government been aware of Defendant’s knowing false
certifications and knowing failure to return overpayments it would have taken steps
to recover them.

211. The United States has been damaged as a result in an amount to be

determined at trial.

VII. Count III: Unlawful Interference with Family Medical Leave Act
Rights

212. Relator incorporates by reference all paragraphs under the subheading
“Escambia Violated The Family Medical Leave Act,” as if fully set forth herein.

213. Under 29 U.S.C. § 2601 et seg., covered employers are required to
provide employees job-protected unpaid leave for qualified family and medical
reasons.

214. Defendant is a covered employer under the FMLA.

215. During her employment, Dr. Edler qualified for FMLA leave.

216. As described in more detail above, Defendant interfered in Dr. Edler’s
exercise of her rights under the FMLA including, for example, by terminating her

employment at the conclusion of her period of leave, directing that she work a new

49
and not equivalent position upon her return, and then withholding certain
compensation benefits.

217. As adirect and proximate result of Defendant’s conduct, Dr. Edler
suffered and will continue to suffer damages.

218. Asa direct and proximate result of Defendant’s conduct, Dr. Edler is
entitled to all damages provided for by 29 U.S.C. § 2617 including liquidated

damages, cost and reasonable attorney’s fees.

IX. Count IV: Retaliation in Violation of the Family Medical Leave Act

219. Relator incorporates by reference all paragraphs under the subheading
“Escambia Violated The Family Medical Leave Act” and under Count II as if fully
set forth herein.

220. During her employment, Dr. Edler utilized FMLA leave.

221. After Dr. Edler utilized, or attempted to utilize, her qualified FMLA
leave, Defendant retaliated against her.

222. Defendant retaliated against her by terminating her position and
employment, directing that she instead undertake a new, different, and not
equivalent position for a period of 90 days, characterizing her termination as an
“abandonment”, and withholding certain compensation and benefits.

223. Defendant’s retaliation against Dr. Edler was willful.

50
224. Asa direct and proximate result of Defendant’s conduct, Dr. Edler

suffered and will continue to suffer damages.

225. As adirect and proximate result of Defendant’s conduct, Dr. Edler is

entitled to all damages provided for by 29 U.S.C. § 2617 including liquidated

damages, cost and reasonable attorney’s fees.

X. Prayer For Relief

WHEREFORE, Relator requests that judgment be entered against Defendant,

ordering:

A.

Defendant pay an amount equal to all damages due to the Government,
including treble damages, under the FCA;

Defendant pay all civil penalties due to the Government for each of
Defendant’s violations of the FCA;

Relator be awarded the maximum relator’s share allowable pursuant to 31
U.S.C. § 3730(d);

Relator be awarded all costs of this action, including attorneys’ fees and
costs, pursuant to 31 U.S.C. § 3730(d) and any other applicable law or
regulation;

Defendant pay Relator all damages on her FCA retaliation, FMLA
interference and FMLA retaliation claims including double back pay; interest
on back pay; an award of front pay; special damages; an injunction
restraining further retaliation; reinstatement of Relator’s position;
reinstatement of full fringe benefits and seniority rights; compensation for
lost wages, benefits and seniority rights; and wages, benefits and other
remuneration;

An award of pre- and post-judgment interest; and

The United States and Relator be awarded such other, further, or different
relief as the Court deems just and proper.

51
Plaintiff requests trial by jury.

Respectfully submitted
/s/ Jonathan Kroner Darth M. Newman
FBN 328677 Law Offices of Darth M. Newman
Jonathan Kroner Law Office LLC
300 S. Biscayne Blvd., Suite 3710 1140 Thorn Run Rd., #601
Miami, Florida 33131 Coraopolis, PA 15108
305.310.6046 412.436.3443
jk@FloridaFalseClaim.com darth@dnewmanlaw.com

 

(admitted pro hac vice)

Attorneys for Qui Tam Plaintiff Relator Rayme M. Edler, M.D.

Certificate of Service on the U.S., and NOT on Defendant

Pursuant to Local Rules 5.4(A)(2) and 5.5 governing sealed documents, I filed hard
copy paper with the Clerk of the Court.

I served the United States. I did not serve Defendant or its counsel of record.

/s/ Jonathan Kroner

52
Escambia and Neighbors Medicare Claims, Part B 2014 -2020

HCPCS Code / desc
A0426 ALS NonE
A0427 ALS Emer
A0428 BLS NonE
A0429 BLS Emer
HCPCS Code

A0427 ALS Emer
A0429 BLS Emer
A0426 ALS NonE
A0428 BLS NonE

Santa Rosa, FL;

 

Baldwin and
Escambia Escambia Ala Fed Part B
1,156 6,154 648,307
63,189 98,189 8,935,533
342 69,238 9,046,049
25,684 20,334 5,437,272
90,371 193,915 24,067,161

Emergency / Non Emergency Comparison - Claims

Santa Rosa, FL;

 

 

Baldwin and Nationwide
Escambia Claims Escambia Ala Part B

63,189 98,189 8,935,533

25,684 20,334 5,437,272

88,873 118,523 14,372,805

1,156 6,154 648,307

342 69,238 9,046,049

1,498 75,392 9,694,356

Escambia's transport records (Ritter Exhibit) show 14,353 transports
12% (1,671) with lights/sirens and 88% (12,682) without lights/sirens.

Emerg Emerg
Non Emerg Non Emerg

Escambia Claims

98%
2%
100%

Difference from Escambia Emerg Claim %:

Santa Rosa, FL;
Baldwin and
Escambia Ala

61%
39%
100%

37%

Nationwide
Part B
60%
40%
100%

39%

Escambia
lights /sirens

1,671

12,682

Escambia no
lights /sirens
12%
88%
100%

87%

100%

75%

50%

25%

0%

Escambia Santa Rosa, Nationwide Escambi:

Claims

FL; Baldwin Part B
and
Escambia

Ala

MEmerg mNon Emerg

no lights
/sirens
Advanced / Basic Analyis
Santa Rosa, FL,

and Baldwin and —_— Nationwide 100%

 

 

HCPCS Code Escambia Claims Escambia Ala Part B
A0426 ALS NonE 1,156 6,154 648,307
A0427 ALS Emer 63,189 98,189 8,935,533
Advanced totals 64,345 104,343 9,583,840
75%
A0428 BLS NonE 342 69,238 9,046,049
A0429 BLS Emer 25,684 20,334 5,437,272
Basic totals 26,026 89,572 14,483,321
50%
Totals 90,371 193,915 24,067,161

Advanced / Basic Comparison
Santa Rosa, FL,
and Baidwin and Nationwide

Escambia Claims Escambia Ala Part B 25%
Advanced 71% 54% 40%
Basic 29% 46% 60%
100% 100% 100%

Difference from Escambia Adv Claim %: 17% 31% 0%

Escambia Santa Rosa, FL, Nationwide
Claims and Baldwin Part 8
and Escambia
Ala

WAdvanced # Basic
Damages Analysis

Part B claims 2014 - 2020

A0426 ALS NonE
A0427 ALS Emer
A0428 BLS NonE
A0429 BLS Emer

 

Emergency Damages Estimate Medicare Part B

HCPCS Code
A0427 ALS Emer
A0429 BLS Emer
A0426 ALS NonE
A0428 BLS NonE

 

 

Average emergency upcode $ benefit

Assumed upcode %
Total claims

Upcodes
Amount

Damages

Advanced / Basic Damages Medicare Part B

HCPCS Code
A0426 ALS NonE
A0427 ALS Emer
A0428 BLS NonE
A0429 BLS Emer

 

 

Average Advanced Upcode S$ benefit

Assumed upcode %
Total claims

Upcodes
Amount

Damages

Escambia Claims

Claims Amt paid S/claim
1,156 $ 239,198 $ 207
63,189 S$ 20,731,218 $ 328

342 §$ 59,104 $ 173
25,684 $ 7,096,557 $ 276
90,371 $ 28,126,077 $ 311

Claims
63,189 $ 20,731,218
25,684 7,096,557
88,873 27,827,775 $ 313
1,156 S$ 239,198

342 59,104
1,498 298,302 $ 199
S 114
39%
90,371
34,904
114

3,978,510

Claims Part B Avg pd / claim
1,156 $ 239,198
63,189 S$ 20,731,218
64,345 20,970,416 $ 326

342 $ 59,104

25,684 S$ 7,096,557
26,026 7,155,661 $ 275
S 51

31% (Escambia % - Nationwide %)

90,371

28,358
51

1,445,220
